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 1                                                                          Judge Ronald B. Leighton
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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT TACOMA
 7
     UNITED STATES OF AMERICA,                  )       NO. CR05-5823RBL
 8                                              )
                          Plaintiff,            )
 9                                              )
                     v.                         )       ORDER
10                                              )
     MARKUS VERNON MOORE,                       )
11                                              )
                          Defendant.            )
12                                                  )
13
            After consideration of defendant Markus Moore’s motion to compel discovery, and the
14
     response filed thereto, and after consideration of all of the evidence presented at any hearing on
15
     the motion,
16
            IT IS HEREBY ORDERED that defendant’s motion to compel discovery is DENIED as
17
     Moot. .
18
            DATED this 14th day of September, 2006.
19



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20

21
                                        RONALD B. LEIGHTON
22                                      UNITED STATES DISTRICT JUDGE
23
     Presented by:
24

25   s/ Gregory A. Gruber
     GREGORY A. GRUBER
26   Assistant United States Attorney
27   s/ Kent Y. Liu
     KENT Y. LIU
28   Special Assistant United States Attorney


     Order/U.S. v. Markus Moore/CR05-5823RBL - 1                                 UNITED STATES ATTORNEY
                                                                                 1201 P
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                                                                                                VENUE   UITE

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